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Case 2:05-md-01657-EEF-DEK

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MARTHA BAKER et al,
Plaintiff(s),

V.

MERCK & CO., INC.,

Defendant(s).

This Document Relates to Augustine Jones

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

DOCKET NO. 2:05cv03127

STIPULATION OF DISMISSAL
WITH PREJUDICE
AS TO ALL DEFENDANTS

Pursuant to Fed.R.Civ.P. 41, the undersigned counsel hereby stipulate

that all claims of plaintiff, AUGUSTINE JONES, against defendant Merck & Co., Inc.

and all other named defendants be dismissed in their entirety with prejudice, each party to

bear its own costs,

Craig L. Lowet - \
Wiggins Childs Quinn & Pantazis LLC
The Kress Building

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Dated: 2 FD le&

V1013

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Dated: “1-24£409

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CERTIFICATE OF SERVICE
I hereby certify that the above and foregoing Stipulation of Dismissal With

Prejudice as to All Defendants has been served on Liaison Counsel, Russ Herman and Phillip
Wittmann, by U.S. Mail and e-mail or by hand delivery and e-mail and upon all parties by
electronically uploading the same to LexisNexis File & Serve Advanced in accordance with Pre-
Trial Order No. 8B, and that the foregoing was electronically filed with the Clerk of Court of the
United States District Court for the Eastern District of Louisiana by using the CM/ECF system
which will send a Notice of Electronic Filing in accord with the procedures established in MDL
1657, on this 27th day of July, 2010.

/s/ Stephen G. Strauss

Stephen G. Strauss

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